 Case 22-30056-KRH           Doc 38 Filed 02/25/22 Entered 02/26/22 00:19:33                      Desc Imaged
                                  Certificate of Notice Page 1 of 3
                                     United States Bankruptcy Court
                                           Eastern District of Virginia
                                               Richmond Division
                                              701 East Broad Street
                                              Richmond, VA 23219

                                                          Case Number 22−30056−KRH
                                                          Chapter 7
In re:                                                    Judge Kevin R. Huennekens
Michael Gregory Wilson
12733 STORROW RD
HENRICO, VA 23233

SSN: xxx−xx−4486        EIN: NA



                                 CLERK'S NOTICE OF PRESUMED ABUSE
                                      UNDER 11 U.S.C. § 707(b)(2)

     Insufficient information was filed with the petition in the above captioned case to permit the clerk to make a
 determination concerning the presumption of abuse at the time of filing. Additional information subsequently filed
 by the debtor indicates that a presumption of abuse has arisen under § 11 U.S.C. 707(b)(2).

     Creditors may have the right to file a motion to dismiss the case under § 11 U.S.C. 707(b)(2) of the
 Bankruptcy Code. Under § 11 U.S.C. 707(b)(2)(B) the debtor may rebut the presumption by showing special
 circumstances.

 Dated: February 23, 2022
                                                           William C. Redden
                                                           Clerk of Court
 (clkntcabuse)
      Case 22-30056-KRH                      Doc 38 Filed 02/25/22 Entered 02/26/22 00:19:33                                             Desc Imaged
                                                  Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                               Eastern District of Virginia
In re:                                                                                                                 Case No. 22-30056-KRH
Michael Gregory Wilson                                                                                                 Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0422-7                                                  User: baumgartn                                                             Page 1 of 2
Date Rcvd: Feb 23, 2022                                               Form ID: clkntcab                                                         Total Noticed: 20
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 25, 2022:
Recip ID                Recipient Name and Address
db                    + Michael Gregory Wilson, 12733 STORROW RD, HENRICO, VA 23233-7658
15822219              + ARS, 12916 Old Stage Rd., Chester, VA 23836-2542
15822220                AT&T, Attn: Bankruptcy Dept., PO Box 5074, Carol Stream, IL 60197-5074
15822216                Affiliated Acceptance Corp., Attn: BK Dept., PO Box 79001, Sunrise Beach, MO 65079-0000
15822217              + Amanda Padula-Wilson, 12513 Amershire Ln., Glen Allen, VA 23059-6917
15822221             ++ BANK OF AMERICA, PO BOX 982238, EL PASO TX 79998-2238 address filed with court:, Bank of America, N.A., Attn: BK Dept.,
                        PO Box 982234, El Paso, TX 79998-2234
15822224              + Credit Corp Solutions, Inc., Attn: BK Dept., 600 W 7th St., Los Angeles, CA 90017-3842
15822225              + Discover Bank, Attn: Bankruptcy Debt, PO Box 30416, Salt Lake City, UT 84130-0416
15822227              + Freddie Mac, Attn: BK Dept., 6200 S. Quebec St., Englewood, CO 80111-4720
15822229                Henrico GDC - Civil, PO Box 90775, 4309 East Parham Road, Henrico, VA 23273-0775
15822233              + Sls/equity, Attn: Bankruptcy, 8742 Lucent Blvd., Highlands Ranch, CO 80129-2302

TOTAL: 11

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
15822218               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Feb 24 2022 00:43:16      Amex, Correspondence/Bankruptcy, Po Box
                                                                                                                  981540, El Paso, TX 79998-1540
15822222               + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Feb 24 2022 00:43:52      Citibank N.A., Attn: BK Dept., PO Box 6500,
                                                                                                                  Sioux Falls, SD 57117-6500
15822223                  Email/Text: bankruptcy@henrico.us
                                                                                        Feb 24 2022 00:38:00      County of Henrico, PO Box 90775, Henrico, VA
                                                                                                                  23273-0755
15822314                  Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Feb 24 2022 00:37:00      DEPARTMENT OF THE TREASURY-IRS,
                                                                                                                  INTERNAL REVENUE SERVICE, PO BOX
                                                                                                                  7346, PHILADELPHIA, PA 19101-7346
15822226               + Email/Text: dplbk@discover.com
                                                                                        Feb 24 2022 00:38:00      Discover Personal Loans, Attn: Bankruptcy, Po
                                                                                                                  Box 30954, Salt Lake City, UT 84130-0954
15822228                  Email/Text: specialhandling@glasserlaw.com
                                                                                        Feb 24 2022 00:37:00      Glasser and Glasser, PLC, PO Box 3400, Norfolk,
                                                                                                                  VA 23514-0000
15822232               + Email/PDF: pa_dc_claims@navient.com
                                                                                        Feb 24 2022 00:43:31      Navient, Attn: Bankruptcy, Po Box 9640,
                                                                                                                  Wilkes-Barre, PA 18773-9640
15822313               + Email/Text: USAVAE.Bankruptcynotices@usdoj.gov
                                                                                        Feb 24 2022 00:37:00      US Attorney, Suntrust Building, 919 East Main
                                                                                                                  Street, Suite 1900, Richmond, VA 23219-4622
15822234                  Email/Text: bkr@taxva.com
                                                                                        Feb 24 2022 00:38:00      VA Dept. of Taxation, Office of Customer
                                                                                                                  Services, P.O. Box 1115, Richmond, VA
                                                                                                                  23218-1115

TOTAL: 9
       Case 22-30056-KRH                   Doc 38 Filed 02/25/22 Entered 02/26/22 00:19:33                                        Desc Imaged
                                                Certificate of Notice Page 3 of 3
District/off: 0422-7                                               User: baumgartn                                                        Page 2 of 2
Date Rcvd: Feb 23, 2022                                            Form ID: clkntcab                                                    Total Noticed: 20

                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
15822230           *P++          INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATIONS, PO BOX 7346, PHILADELPHIA PA
                                 19101-7346, address filed with court:, IRS, Attn: Bankruptcy, 400 N. Eighth St, Richmond, VA 23219-0000
15822231           *             IRS, Attn: Bankruptcy, P.O. Box 7346, Philadelphia, PA 19101-7346

TOTAL: 0 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 25, 2022                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 18, 2022 at the address(es) listed
below:
Name                             Email Address
Anthony L. White
                                 on behalf of Debtor Michael Gregory Wilson awhite@alwhitelaw.com
                                 r54179@notify.bestcase.com;anthonylwhitelaw@gmail.com;paralegal@alwhitelaw.com;office@alwhitelaw.com

Jennifer J. West
                                 jjw_trustee@spottsfain.com jjwest@ecf.axosfs.com;jjw@trustesolutions.net

John P. Fitzgerald, III
                                 USTPRegion04.RH.ECF@usdoj.gov

Shannon Pecoraro
                                 on behalf of U.S. Trustee John P. Fitzgerald III Shannon.pecoraro@usdoj.gov,
                                 june.e.turner@usdoj.gov;Theresa.E.McPherson@usdoj.gov


TOTAL: 4
